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NICOLA T. HANNA
United States Attorney
THOMAS D. COKER
Chief, Tax Division
ROBERT F. CONTE (SBN 157582)
Assistant United States Attorney
300 North Los Angeles Street
Federal Building, Room 7211
Los Angeles, California 90012
Telephone: (213) 894 6607
Facsimile: (213) 894 0115
E mail: robert.Conte@uSdoj.gOv
CHRISTOPHER S. STRAUSS (DC Bar NO. 1030802)
Trial Attorney
ELLEN M. QUATTRUCCI (DC Bar NO. 462103)
Trial Attorney
Tax Division, Western Criminal Enforcement Section
United States Department of Justice
601 D. St. NW, Room 7022
Washington, D.C. 20004
Telephone: (202) 514-5762
Facsimile: (202) 514-9623
E-mail: Christopher.S.Strauss@usdoj.gov
Ellen.M.Quattrucci@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, NO. CR 17-CR-452-MWF

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
TEYMOUR KHOUBIAN

 

V.
TEYMOUR KHOUBIAN,

Defendant.

1. This constitutes the plea agreement between TEYMOUR
KHOUBIAN (“defendant") and the United States Attorney's Office for
the Central District of California and the U.S. Department of
Justice, Tax Division (collectively the “USAO") in the above-
captioned case. This agreement is limited to the USAO and cannot

bind any other federal, State, local, or foreign prosecuting,

 

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enforcement, administrative, or regulatory authorities and is subject
to the approval of the Department of Justice, Tax Division.
DEFENDANT'S OBLIGATIONS
2. Defendant agrees to:

a. At the earliest opportunity requested by the USAO and
provided by the Court, appear and plead guilty to Counts Two and
Three of the indictment in United States v. Khoubian, CR No. 17-CR-
452-MWF, which each charge defendant with willfully making and
subscribing a false tax return in violation of 26 U.S.C. § 7206(1).

b. Not contest facts agreed to in this agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines") § 4A1.2(c) are not
within the scope of this agreement.

f. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g. Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

h. Pay the restitution ordered by the Court and agreed to

by defendant in Paragraph 10.

 

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DEFENDANT'S OTHER OBLIGATIONS

 

3. Defendant also agrees:

a. To cooperate with the IRS in the civil examination,
determination, assessment and collection of income taxes related to
(i) defendant's 2005 through 2012 individual income tax returns,
including reporting and paying all taxes, penalties and interest, on
all of the income of whatever kind earned on the total amount of
assets in all foreign accounts held individually or jointly by the
defendant at Bank Leumi le-Israel, B.M. and Commerzbank AG during
2005 and 2012; and (ii) any related corporate/entity tax returns.
Defendant further agrees not to conceal, transfer, or dissipate funds
or property that could be used to satisfy such taxes, penalties and
interest.

b. Defendant agrees to sign any waivers of statutes of
limitations as requested by the Internal Revenue Service; and further
agrees to waive any objection to the assessment and collection of any
tax, penalties, and interest for tax years 2005 through 2012,
inclusive regarding any of the tax returns.

c. To repatriate any funds or assets held in any foreign
country or outside the United States regarding accounts over which
defendant has a financial interest in, or signature or other
authority over.

d. To give up any and all objections that could be
asserted to the Examination Division of the IRS receiving materials
or information obtained during the criminal investigation of this
matter, including materials and information obtained through grand

jury subpoenas.

 

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e. That nothing in this agreement shall preclude or bar
the IRS from the assessment and/or collection of any additional tax
liability from defendant, including interest and penalties,
determined to be due and owing from defendant by the IRS for 2005,
2006, 2007, 2008, 2009, 2010, 2011, and 2012.

f. Defendant further agrees that he was assessed a Report
of Foreign Bank and Financial Accounts penalty (“FBAR penalty") of
$7,686,004, under section 5321(a)(5) and/or 5321(a)(6) of Title 31 of
the United States Code. This penalty was assessed because defendant
willfully failed to file an FBAR for calendar year 2010. Defendant
waives any and all defenses to the assessment and collection of the
FBAR penalty under Title 31 of the United States Code, including any
defense based on the expiration of the period of limitations on the
assessment or collection of penalties and interest.

g. Defendant agrees to the entry of a civil judgment in
favor of the United States and against Teymour Khoubian for
$7,686,004, which was assessed on May 25, 2017, plus all subsequent
statutory accruals including interest and penalties.

h. Defendant agrees to pay the total sum of money
regarding his FBAR penalty prior to sentencing to the United States
Treasury, pursuant to instructions provided to defendant and

defendant's counsel by the Department of Justice Tax Division Trial

 

Attorney.
THE USAO'S OBLIGATIONS
4. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

 

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c. At the time of sentencing, move to dismiss the
remaining counts of the indictment. Defendant agrees, however, that
at the time of sentencing the Court may consider any dismissed
charges in determining the applicable Sentencing Guidelines range,
the propriety and extent of any departure from that range, and the
sentence to be imposed.

d. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offenses up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.l, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

e. Not to further criminally prosecute defendant for any
additional violations known to the USAO at the time of the plea,
arising out of the information provided by the defendant, and
defendant's conduct described in the indictment or described in the
statement of facts provided in Attachment A.

f. The USAO further agrees not to prosecute the
defendant's wife, D.K., or his mother, T.K.K., for any violations of
law known to the USAO at the time of the plea arising out of the
indictment, and for any conduct described in the indictment or the
statement of facts provided in Attachment A.

g. Defendant understands that the USAO is free to
prosecute defendant, his wife, D.K., or his mother, T.K.K., for any
other unlawful past conduct or any unlawful conduct that occurs after
the date of this agreement. Defendant understands that at the time
of sentencingr the Court may consider any relevant conduct related to
the crime set forth herein in determining the applicable Sentencing

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Guidelines range, the propriety and extent of any departure from that
range, and the sentence to be imposed after consideration of the
Sentencing Guidelines and all other relevant factors under 18 U.S.C.
§ 3553(a).

h. Recommend that defendant be sentenced to a term of
imprisonment no higher than the low end of the applicable Sentencing
Guidelines range. For purposes of this agreement, the low end of the
Sentencing Guidelines range is that defined by the Sentencing Table
in U.S.S.G. Chapter 5, Part A.

NATURE OF THE OFFENSES

 

5. Defendant understands that for defendant to be guilty of
the crime charged in Count Two, that is, Willfully Making and

Subscribing A False Tax Return, in violation of Title 26, United

 

 

States COde, Section 7206(1) the following must be true:

a. The defendant made and signed a U.S. Individual Income
Tax Return for the year 2009 that he knew contained false information
as to a material matter;

b. The return contained a written declaration that it was
made under the penalties of perjury; and

c. The defendant acted willfully in filing the false
return.

d. Defendant admits that defendant is, in fact, guilty of
this offense as described in Count Two of the indictment.

6. Defendant understands that for defendant to be guilty of

the crime charged in Count Three, that is, Willfully Making and

Subscribing A False Tax Return, in violation of Title 26, United

 

States Code, Section 7206(1) the following must be true:

 

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a. The defendant made and signed a U.S. Individual Income
Tax Return for the year 2010 that he knew contained false information
as to a material matter;

b. The return contained a written declaration that it was
made under the penalties of perjury; and

c. The defendant acted willfully in filing the false
return.

d. Defendant admits that defendant is, in fact, guilty of
this offense as described in Count Three of the indictment.

PENALTIES AND RESTITUTION

 

7. Defendant understands that the statutory maximum sentence
that the Court can impose for each violation of Title 26, United
States Code, Section 7206(1)is: three years of imprisonment; a one
year period of supervised release; a fine of $250,000 or twice the
amount of gross gain or gross loss resulting from the offense,
whichever is greater; and a mandatory special assessment of 5100.
Defendant agrees to pay the special assessment at or before the time
of sentencing.

8. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
six years of imprisonment; a one year period of supervised release: a
fine of $500,000 or twice the amount of gross gain or gross loss
resulting from the offenses, whichever is greater; and a mandatory
special assessment of $200. Defendant agrees to pay the special
assessment at or before the time of sentencing.

9. Defendant understands and agrees that the Court must order
defendant to pay the costs of prosecution, which may be in addition
to the statutory maximum fine stated above. The government

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acknowledges that it has not incurred any recoverable expenses in
connection with this prosecution as of the date of his agreement.
10. Defendant further agrees to make restitution for the loss
of income tax revenue associated with the income earned on
defendant's foreign financial accounts at Bank Leumi le-Israel, B.M.
during the calendar years 2005 to 2012 that defendant willfully
omitted from his tax returns. Defendant further agrees that
defendant will not seek the discharge of any restitution obligation
that the court may order, in whole or in part, in any present or
further bankruptcy proceeding. The parties agree that the amount of

restitution owed to the IRS is as follows:

 

 

 

 

 

 

 

 

 

 

TAX YEAR AMOUNT TO BE
CREDITED TO TAX
2005 $75,311
2006 $106,239
2007 $131,498
2008 $127,383
2009 $92,119
2010 $78,294
2011 $0
2012 $1,466
Total Tax Due $612,310

 

 

 

 

11. Defendant agrees that restitution is due and payable
immediately after the judgment is entered and is subject to immediate
enforcement, in full, by the United States. If the Court imposes a
schedule of payments, defendant agrees that the schedule of payments

is a schedule of the minimum payment due, and that the payment

 

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schedule does not prohibit or limit the methods by which the United
States may immediately enforce the judgment in full.

12. If the Court orders the defendant to pay restitution to
the IRS for the failure to pay tax, either directly as part of the
sentence or as a condition of supervised release or probation, the
IRS will use the restitution order as the basis for a civil
assessment. §§e 26 U.S.C. §6201(a)(4). The defendant does not have
the right to challenge the amount of this restitution-based
assessment. §ee 26 U.S.C. §6201(a)(4)(C). Neither the existence of
a restitution payment schedule nor the defendant's timely payment of
restitution according to that schedule will preclude the IRS from
immediately collecting the full amount of the restitution-based
assessmentr including by levy and restraint under 26 U.S.C. §6331.

13. Defendant agrees that he will sign any IRS forms
deemed necessary by the IRS to enable the IRS to make an immediate
assessment of that portion of the tax and interest that he agrees to
pay as restitution pursuant to this agreement. Defendant also agrees
to sign IRS Form 8821, “Tax Information Authorization."

14. Defendant agrees not to file any claim for refund of
taxes, or penalties represented by an amount of restitution paid
pursuant to this agreement.

15. The parties understand that defendant will receive
proper credit, consistent with paragraph 10 above, for the payments
made pursuant to this agreement, including any prior payments made by
defendant. Except as set forth in the previous sentence, nothing in
this agreement shall limit the IRS in its lawful examination,

determination, assessment, or collection of any taxes, penalties or

 

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interest due from the defendant for the time periods covered by this
agreement or any other time period.

16. Defendant agrees to send all payments made pursuant to the
District Court's restitution order to the Clerk of Court.

l7. With each payment to the Clerk of Court made payable to the
District Court's restitution order, defendant will provide the
following information:

a. Defendant's name and Social Security number:
b. The District Court and the docket number assigned to
the case;
c. Tax year(s) or period(s) for which restitution has been
ordered:
d. A statement that the payment is being submitted
pursuant to the District Court's restitution order.

18. Defendant agrees to include a request that the Clerk of
Court send the information, along with the defendant's payments, to
lthe address below.

19. Defendant also agrees to send a notice of any payments made
pursuant to this agreement, including the information listed in the
previous paragraph, to the IRS at the following address:

IRS-RACS

Attn: Mail Stop 6261, Restitution
333 W. Pershing Avenue

Kansas City, MO 64108

20. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised

release imposed, defendant may be returned to prison for all or part

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of the term of supervised release, which could result in defendant
serving a total term of imprisonment greater than the statutory
maximum stated above.

21. Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and valuable
civic rights, such as the right to vote, the right to possess a
firearm, the right to hold office, and the right to serve on a jury.
Defendant further understands that the conviction in this case may
subject defendant to various collateral consequences, including but
not limited to, deportation, revocation of probation, parole, or
supervised release in another case, and suspension or revocation of a
professional license. Defendant understands that unanticipated
collateral consequences will not serve as grounds to withdraw
defendant's guilty plea.

FACTUAL BASIS

22. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided in Attachment A
and agree that this statement of facts is sufficient to support pleas
of guilty to the charges described in this agreement and to establish
the Sentencing Guidelines factors set forth in paragraph 24 below,
but is not meant to be a complete recitation of all facts relevant to
the underlying criminal conduct or all facts known to either party
that relate to that conduct.

SENTENCING FACTORS

 

23. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures

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under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crimes of
conviction.

24. Defendant and the USAO agree to the following applicable

Sentencing Guidelines factors:

Base Offense Level: 20 U.S.S.G. § 2Tl.l; 2T4.1(H)
Specific Offense Characteristics
Sophisticated Means 2 U.S.S.G. § 2Tl.l(b)(2)

Acceptance of Responsibility: -3 U.S.S.G. § 3El.l

Total Offense Level: 19

25. Defendant and the USAO agree not to seek, argue, or suggest
in any way, either orally or in writing, that any other specific
offense characteristics, adjustments, or departures relating to the
applicable Offense Level be imposed. The USAO will agree to a
downward adjustment for acceptance of responsibility (and, if
applicable, move for an additional level under BEl.l(b)) only if the
conditions set forth in this agreement are met. Defendant agrees,
however, that if, after signing this agreement but prior to
sentencing, defendant were to commit an act, or the USAO were to
discover a previously undiscovered act committed by defendant prior

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to signing this agreement, which act, in the judgment of the USAO,
constituted obstruction of justice within the meaning of U.S.S.G. §
3C1.1, the USAO would be free to seek the enhancement set forth in
that section. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

26. Defendant reserves the right to argue for a sentence
outside the sentencing range established by the Sentencing Guidelines
based on the factors set forth in 18 U.S.C. § 3553(a)(1), (a)(2),
(a)(3), (a)(6), and (a)(7)-

WAIVER OF CONSTITUTIONAL RIGHTS
27. Defendant understands that by pleading guilty. defendant
gives up the following rights:
a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury.
c. The right to be represented by counsel -- and if
necessary have the court appoint counsel -- at trial. Defendant

understands, however, that, defendant retains the right to ben

represented by counsel -- and if necessary have the court appoint
counsel -- at every other stage of the proceeding.
d. The right to be presumed innocent and to have the

burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant.

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the

attendance of witnesses to testify.

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g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

 

 

28. Defendant understands that, with the exception Of an appeal
based on a claim that defendant's guilty pleas were involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant's convictions on the offenses to which defendant is
pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

29. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction that is within or
below the range corresponding to a total offense level of 19 and the
criminal history calculated by the Court, defendant gives up the
right to appeal all of the following: (a) the procedures and
calculations used to determine and impose any portion of the
sentence; (b) the term of imprisonment imposed by the Court; (c) the

fine imposed by the court, provided it is within the statutory

 

 

maximum; (d) the amount and terms of any restitution order, provided
it requires payment of no more than $612,310; (e) the term cf
probation or supervised release imposed by the Court, provided it is
within the statutory maximum; and (f) any of the following conditions
of probation or supervised release imposed by the Court: the
conditions set forth in General Orders 318r 01-05, and/or 05-02 of
this Court; the drug testing conditions mandated by 18 U.S.C.

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§§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions
authorized by 18 U.S.C. § 3563(b)(7).

30. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
(b) the Court calculates the offense level to be used for selecting a
sentencing range under the Sentencing Guidelines to be 19 or above;
(c) the Court imposes a term of imprisonment within or above the
range corresponding to a total offense level of 19 and the criminal
history calculated by the Court, the USAO gives up its right to
appeal any portion of the sentence, with the exception that the USAO
reserves the right to appeal the amount of restitution ordered if
that amount is less than $612,310.

RESULT OF WITHDRAWAL OF GUILTY PLEA

31. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement; and (b) should the USAO choose to
pursue any charge or any civil, administrative, or regulatory action
that was either dismissed or not filed as a result of this agreement,
then (i) any applicable statute of limitations will be tolled between
the date of defendant's signing of this agreement and the filing
commencing any such action; and (ii) defendant waives and gives up
all defenses based on the statute of limitations, any claim of pre-
indictment delay, or any speedy trial claim with respect to any such
action, except to the extent that such defenses existed as of the
date of defendant's signing this agreement.

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EFFECTIVE DATE OF AGREEMENT
32. This agreement is effective upon signature and execution of

all required certifications by defendant, defendant's counsel, and an

 

 

Assistant United States Attorney or Department of Justice Trial
Attorney.

BREACH OF AGREEMENT

 

33. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney or Department of Justice Trial Attorney,
knowingly violates or fails to perform any of defendant's obligations
under this agreement (“a breach”), the USAO may declare this
agreement breached. All of defendant's obligations are material, a
single breach of this agreement is sufficient for the USAO to declare
a breach, and defendant shall not be deemed to have cured a breach
without the express agreement of the USAO in writing. If the USAO
declares this agreement breached, and the Court finds such a breach

to have occurred, then: (a) if defendant has previously entered

 

guilty pleas pursuant to this agreement, defendant will not be able
to withdraw the guilty pleas, and (b) the USAO will be relieved of
all its obligations under this agreement.

34. Following the Court's finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
or any civil, administrative, or regulatory action that was either
dismissed or not filed as a result of this agreement, then:

a. Defendant agrees that any applicable statute Of
limitations is tolled between the date of defendant's signing of this
agreement and the filing commencing any such action.

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b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant's
signing this agreement.

c. Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a hearing
occurred prior to the breach); (ii) the agreed to factual basis
statement in this agreement; and (iii) any evidence derived from such
statements, shall be admissible against defendant in any such action
against defendant, and defendant waives and gives up any claim under
the United States Constitution, any statute, Rule 410 of the Federal
Rules of Evidence, Rule ll(f) of the Federal Rules of Criminal
Procedure, or any other federal ruler that the statements or any
evidence derived from the statements should be suppressed or are
inadmissible.

RESULT OF VACATUR, REVERSAL OR SET-ASIDE

35. Defendant agrees that if any count of Conviction is
vacated, reversed, or set aside, the USAO may: (a) ask the Court to
resentence defendant on any remaining count of conviction, with both
the USAO and defendant being released from any stipulations regarding
sentencing contained in this agreementr (b) ask the Court to void the
entire plea agreement and vacate defendant's guilty plea on any
remaining count of conviction, with both the USAO and defendant being
released from all their obligations under this agreement, or (c)
leave defendant's remaining conviction, sentence, and plea agreement
intact. Defendant agrees that the choice among these three options
rests in the exclusive discretion of the USAO.

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COURT AND PROBATION OFFICE NOT PARTIES

36. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO’s sentencing recommendations or the parties'
agreements to facts or sentencing factors.

37. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court's Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court's Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 23 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this agreement,
this paragraph does not affect defendant's and the USAO's obligations
not to contest the facts agreed to in this agreement.

38. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant's guilty pleas, and defendant will remain bound to
fulfill all defendant's obligations under this agreement. Defendant
understands that no one -- not the prosecutor, defendant's attorney,
or the Court -- can make a binding prediction or promise regarding

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the sentence defendant will receive, except that it will be within
the statutory maximum.
NO ADDITIONAL AGREEMENTS

39. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant's attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

40. The parties agree that this agreement will be considered
part of the record of defendant's guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED
UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT OF
CALIFORNIA

NICOLA T. HANNA
United States Attorney

 

 

CHRISTOPHER S. STRAUSS Date
ELLEN M. QUATTRUCCI

Trial Attorneys

U.S. Department of Justice,

Tax Division

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TEYMOUR KHOUBIAN Date
Defendant

 

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Date
At orney for Defendant TEYMOUR
KHOUBIAN

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the sentence defendant will receive, except that it will be within
the statutory maximum.
NO ADDITIONAL AGREEMENTS

39. Defendant understands that, except as set forth herein,
there are no promisesr understandings, or agreements between the USAO
and defendant or defendant's attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

40. The parties agree that this agreement will be considered
part of the record of defendant's guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED
UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT OF
CALIFORNIA

NICOLA T. HANNA
United tates Attorney

 
  

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Date

 

HE S. STRAUSS
ELLEN M. QUATTRUCCI
Trial Attorneys

U.S. Department of Justice,
Tax Division

 

 

 

TEYMOUR KHOUBIAN Date
Defendant

 

 

John Hanuszr Esq. Date
Attorney for Defendant TEYMOUR
KHOUBIAN

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CERTIFICATION OF DEFENDANT

I have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and I have carefully and
thoroughly discussed every part of it with my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms.
I have discussed the evidence with my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be
filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or
representations of any kind have been made to me other than those
contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. l am satisfied with the
representation of my attorney in this matter, and I am pleading
guilty because I am guilty of the charges and wish to take advantage

of the promises set forth in this agreement, and not for any other

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TEYMOUR KHOUBIAN Date
Defendant

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CERTIFICATION OF DEFENDANT’S ATTORNEY
I am TEYMOUR KHOUBIAN’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors
set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines

provisions, and of the consequences of entering into this agreement.

 

 

To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client's decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support my client's entry of

guilty pleas pursuant to this agreement.

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Joh H sz, Esq. Date
Attorney for Defendant
TEYMOUR KHOUBIAN

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ATTACHMENT A

STATEMENT OF FACTS

 

1. TEYMOUR KHOUBIAN (“KHOUBIAN") was born in Iran and came to
the United States in 1992. In 1994, KHOUBIAN became a permanent
resident of the United States, and in September of 2008, KHOUBIAN
became a naturalized citizen of the United States.

2. After KHOUBIAN's father passed away in 2003, KHOUBIAN
became a signatory and joint beneficial owner of three accounts at
Bank Leumi le-Israelr B.M. (“Bank Leumi") in Tel Aviv, Israel. The
Bank Leumi accounts XXXX72, XXXX12, and XXXX65 were owned by KHOUBIAN
jointly with his mother, T.K.K. KHOUBIAN was the beneficial owner and
had signature authority over these three accounts from at least 2005.
KHOUBIAN held a fourth account, XXXXBO, at Bank Leumi jointly with
his wife, D.K. He was the beneficial owner and had signature
authority over this account from at least 2005 through 2012 (all four
accounts are collectively referred to as “the Bank Leumi accounts”).
During 2005 through 2012, the Bank Leumi accounts held at least $15
million on deposit and reached a high balance of over $20 million in
2008.

3. During 2005 through 2012, inclusive, the Bank Leumi
accounts produced interest income that KHOUBIAN knew should have been
reported on his and T.K.K's U.S. individual income tax returns.

4. From at least 2005 until at least 2015, KHOUBIAN was also
the beneficial owner of an account at Commerzbank AG in Germany that
maintained a balance of over $200,000.

5. KHOUBIAN self-prepared his own U.S. individual income tax
returns for tax years 2005 through 2011 and signed all of those

returns electronically under penalty of perjury by using a self-

 

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selected Personal Identification Number. KHOUBIAN filed his self-
prepared U.S. individual income tax returns electronically with
Internal Revenue Service (hereinafter “IRS”). KHOUBIAN failed to
file a 2012 U.S. Individual Income Tax Return, Form 1040.

6. KHOUBIAN's U.S. individual income tax returns for tax
years 2005 through 2010, inclusive, were false in two ways: (i) none
of the interest income produced by his foreign accounts was reported
on his tax returns; and (ii) KHOUBIAN failed to report his ownership
interest and signature authority over the foreign accounts that were
located in Israel and Germany.

7. In totalr the four Bank Leumi accounts jointly held by
KHOUBIAN generated interest income of in excess of $4.0 million
between 2005 and 2010 that was not reported on KHOUBIAN's'U.S.
individual income tax returns, T.K.K.'s U.S. individual income tax
returns, or any other income tax return for any related entity. The
tax loss associated with KHOUBIAN’s failure to disclose these
accounts is approximately $1.2 million.

8. KHOUBIAN was responsible for coordinating the preparation
and filing of T.K.K.'s U.S. individual income tax returns, which were
prepared by a third-party tax return preparer. KHOUBIAN willfully
caused the preparation and filing of false U.S. individual income tax
returns for T.K.K. for tax years 2005 through 2010 that (i) omitted
any interest income earned from the Bank Leumi accounts; and (ii)
failed to disclose the existence of, and T.K.K.'s beneficial
ownership or signature authority over, a financial account in Israel.

9. With respect to his 2011 individual income tax return,
which was filed on or about October 16, 2012, KHOUBIAN failed to
report all of the interest that he earned from his Bank Leumi

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accounts and failed, on Schedule B, Part III, line 7b, to enter the
name of the foreign country Germany, to disclose that he was the
beneficial owner of an account at Commerzbank in Germany.

10. As of at least 2009, KHOUBIAN was aware that the IRS had a
program called the Offshore Voluntary Disclosure Program (hereinafter
the “OVDP”). The OVDP allowed U.S. taxpayers to voluntarily disclose
their previously undisclosed foreign accounts and pay a reduced
penalty (originally the penalty was 20%, which later increased to 25%
in 2011, 27.5% in 2012, and then 50% in 2014) regarding the high
aggregate balance for a certain time frame to resolve their civil
liability for not declaring or reporting the account to U.S.
authorities. As part of the OVDP, the IRS also advised U.S. taxpayers
with undisclosed foreign financial accounts that a voluntary
disclosure would result in the IRS declining to refer those U.S.
taxpayers to the Department of Justice for criminal prosecution.

11. Beginning in 2009 and continuing until 2012r KHOUBIAN had
multiple discussions with bankers at Bank Leumi seeking, and in some
cases receiving, assurances that Bank Leumi would not disclose the
existence of his accounts to the IRS.

12. During 2011 and 2012, Bank Leumi requested that KHOUBIAN
sign a Form W-9 for the purpose of U.S. tax reporting. KHOUBIAN
declined to sign the Form W-9 on multiple occasions, and as late as
2012, KHOUBIAN attempted to persuade bankers at Bank Leumi to assist
him in further concealing his accounts from the IRS by: i) putting
the accounts in a relative's name; (ii) using his Iranian passport to
document him as a non-U.S. person; and (iii) transferring his funds
to his account in Germany at Commerzbank (where he was identified as

an Iranian citizen).

 

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13. In an August 13, 2012 recorded telephone conversation with
a banker at Bank Leumi, KHOUBIAN stated that the reason he did not
want to sign a Form W-9, was “because you have to pay half of it.”

14. With respect to KHOUBIAN's U.S. individual income tax
return, Form 1040, for tax year 2009 self-prepared by KHOUBIAN and
filed with the IRS, the tax return was materially false in that it
(i) omitted at least $340,482 of interest earned from the Bank Leumi
accounts that KHOUBIAN knew should have been reported; and (ii)
failed to disclose KHOUBIAN's ownership interest in and signature
authority over the Bank Leumi accounts and the Commerzbank account.

15. KHOUBIAN acted willfully in preparing and filing this
false tax return in that he knew he had a duty under U.S. law to
report the existence of his foreign accounts and the interest income
earned from those accounts on his 2009 U.S. individual income tax
return.

16. With respect to KHOUBIAN's U.S. individual income tax
return, Form 1040, for tax year 2010 self-prepared by KHOUBIAN and
filed with the IRS, the tax return was materially false in that it
(i) omitted at least $291,400 of interest earned from the Bank Leumi
accounts that KHOUBIAN knew should have been reported; and (ii)
failed to disclose KHOUBIAN's ownership interest in and signature
authority over the Bank Leumi accounts and the Commerzbank account.

l7. KHOUBIAN acted willfully in preparing and filing this false
tax return in that he knew he had a duty under U.S. law to report the
existence of his foreign accounts and the interest income earned from

those accounts on his 2010 U.S. individual income tax return.

 

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18. From at least 2009 until June 2013, KHOUBIAN willfully
failed to file FBARs disclosing the existence of his Bank Leumi
accounts and his Commerzbank account in Germany.

19. For calendar years 2012 and 2013, KHOUBIAN filed an FBAR
that disclosed his Bank Leumi accounts but failed to disclose the
existence of his Commerzbank account in Germany.

20. In efforts to conceal his foreign accounts from the IRS, on
September 12, 2012, when KHOUBIAN was questioned by Special Agents
from IRS's Criminal lnvestigation Division about his accounts at Bank
Leumi, KHOUBIAN falsely stated that the Bank Leumi accounts were not
in his name and that he was not aware of the rules requiring U.S.
persons to report their foreign accounts.

21. On 0ctober 7, 2014, during an interview with Special Agents
from IRS's Criminal lnvestigation Divisionr KHOUBIAN falsely stated
that: (i) he did not own a bank account in Germany during 2005
through 2010; (ii) he closed his German account many years ago and
moved all of the money to the United States; and (iii) none of the
money in his bank account in Germany was moved to Israel. At the
time KHOUBIAN made these statements, he knew that (i) he owned a bank
account at Commerzbank between 2005 and 2010; (ii) he had not closed
his Commerzbank account in Germany and transferred all of the money

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in that account to the United States; and (iii) he had transferred in
excess of $600,000 from his Commerzbank account in Germany to a Bank

Leumi account in Israel.

*******************************
l have read this Attachment A to the Plea Agreement and

carefully discussed every part of this Attachment to the Plea

Agreement with my attorney. I agree and stipulate to the facts as

stated above.

 

 

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TEYMOUR KHOUBIAN Date
Defendant

I am TEYMOUR KHOUBIAN's attorney. I have read Attachment A to
the Plea Agreement and carefully discussed every part of this

Attachment to the Plea Agreement with my client. To my knowledge, my
client's decision to agree to the facts as stated above is an

informed and voluntary one.

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Guhh Hanusz, Esq. Date
Attorney for Defendant
TEYMOUR KHOUBIAN

 

